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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,

v.                                                  CASE NO. 4:96cr63-RH/WCS

LAVORN FORD,

             Defendant.

_________________________________/


                       ORDER REDUCING SENTENCE


       The term of imprisonment to which defendant Lavorn Ford is sentenced is

hereby reduced to a term of one hundred thirty-eight (138) months. In all other

respects the original sentence remains unchanged.

       SO ORDERED this 16th day of June, 2005.

                                            s/Robert L. Hinkle
                                            Chief United States District Judge
